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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

MARGIT BROWN,                                    )
                                                 )
         Plaintiff,                              )
                                                 )
         v.                                      )               Case No.: 3:24cv704 (MHL)
                                                 )
DDRTC CREEKS AT                                  )
VIRGINIA CENTER, LLC,                            )
                                                 )
and                                              )
                                                 )
MICHAELS STORES, INC.                            )
                                                 )
         Defendants.                             )

                                    FIRST AMENDED COMPLAINT

         COMES NOW Plaintiff, Margit Brown, by counsel and for her Complaint seeking judgment

against Defendants DDRTC Creeks at Virginia Center and Michaels Stores, Inc., (collectively,

“Defendants”), jointly and severally, and alleges as follows:

                                        JURISDICTION & VENUE

              1.      This Court may have diversity jurisdiction over Plaintiff’s state law claim pursuant

    to 28 U.S.C. § 1332, as the Parties are citizens of different states and the amount in controversy

    exceeds $75,000.00.1

              2.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

    acts and omissions giving rise to Plaintiff’s claims occurred in the Eastern District of Virginia.

              3.      Assignment to the Richmond Division of the Eastern District of Virginia is proper,

    pursuant to Local Rule 3(B)(4), because a substantial part of the acts and omissions giving rise to

    Plaintiff’s claim occurred in Henrico County.


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       As discussed in Plaintiff’s previously filed Motion to Compel (ECF No. 12), it is presently
unclear whether the parties are completely diverse in citizenship.
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                                            PARTIES

         4.     At all times relevant hereto, the Plaintiff, Margit Brown ("Plaintiff') was an

  invitee lawfully on the property located at 9910 Brook Road, Glen Allen, VA 23059 (herein

  referred to as the “Premises”).

         5.     Upon information and belief, at all times relevant, Defendant DDRTC Creeks

 at Virginia Center LLC owned, operated, managed, maintained and otherwise controlled the

 property located at 9910 Brook Road, Glen Allen, VA 23059, including the areas behind the

 store (herein referred to as the "Premises").

        6.      Upon information and belief, at all times relevant, Defendant Michaels Stores,

 Inc. owned, operated, managed, maintained and otherwise controlled the Premises.

                                            FACTS

        7.     That on or about August 29, 2022, around 8:00 a.m., the Plaintiff, Margit Brown,

 was injured while descending an exterior stairway behind the Michaels Store located at the

 Premises when a long, metal railing collapsed.

        8.     At all times relevant, the Corporate Defendants knew or should have known of

 these hazards on the Premises.

                                     COUNT I
                           NEGLIGENCE/NEGLIGENCE PER SE

        9.     At all times relevant, the Corporate Defendants had a duty to maintain the

Premises in a reasonably safe condition, to remedy any defects or dangerous conditions in a

prompt and safe manner, and to warn the public of any such defects or conditions known to,

or reasonably discoverable by the Corporate Defendants.

         10.    At all times relevant, the Corporate Defendants had a duty to ensure the walkways,

  stairs, and surfaces used by the public and invitees on the Premises, including the Plaintiff,

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  complied with the applicable building and maintenance codes.

         11.     That the Corporate Defendants negligently maintained the aforesaid Premises, and

 negligently caused, permitted and allowed to exist certain dangerous, hazardous and unsafe

 conditions in, on and about the aforesaid Premises, including but not limited to the concealed

 hazards of the railing and landing on the rear of the Premises and negligently failed to warn the

 Plaintiff of the dangerous, hazardous and unsafe conditions in, on and about the aforesaid Premises.

         12.    Upon information and belief, at all times relevant, the Premises contained several

 violations of applicable building and maintenance codes designed to protect the public, including

 the Plaintiff, from the kind of harm Plaintiff suffered.

        13.     That as a direct and proximate result of the negligence of the Corporate Defendants,

 as aforesaid, the Plaintiff was injured by the collapsing railing and the dangerous conditions and

 suffered the following damages: physical pain and mental anguish, past present, and that which

 she may be reasonably expected to suffer in the future; and associated humiliation and

 embarrassment; inconvenience, past, present, and that which she may be reasonably expected to

 suffer in the future; medical expenses, past, present, and that which she may be reasonably expected

 to suffer in the future; and has otherwise been damaged.

                                        RELIEF REQUESTED

         WHEREFORE, the Plaintiff, Margit Brown, demands judgment against the Corporate

 Defendants DDRTC Creeks at Virginia Center LLC; and Michaels Stores, Inc., jointly and

 severally, in the sum of $2,000,000.00 (TWO MILLION DOLLARS), and interest from the date

 of this accident, pursuant to Virginia Code Section 8.01- 382, plus her costs expended herein.

         TRIAL BY JURY IS REQUESTED.




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                                           Respectfully Submitted:
                                           MARGIT BROWN


                                           _______________/s/___________________
                                                        Counsel

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